






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00577-CV






In re Rodney L. Paramoure






ORIGINAL PROCEEDING FROM COMAL COUNTY






M E M O R A N D U M   O P I N I O N



	Relator Rodney L. Paramoure filed a motion for temporary relief and a petition
for&nbsp;writ of mandamus.  We overrule the motion and deny the petition for writ of mandamus.  See
Tex. R. App. P. 52.8(a).



					                                                                                   

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Henson

Filed:   October 19, 2007


